Case 9:23-cr-80101-AMC Document 606 Entered on FLSD Docket 06/07/2024 Page 1 of 8




                                                                           scn

                                                                     Jun 6, 2024

                                                                            Fort Pierce
Case 9:23-cr-80101-AMC Document 606 Entered on FLSD Docket 06/07/2024 Page 2 of 8
Case 9:23-cr-80101-AMC Document 606 Entered on FLSD Docket 06/07/2024 Page 3 of 8
Case 9:23-cr-80101-AMC Document 606 Entered on FLSD Docket 06/07/2024 Page 4 of 8
Case 9:23-cr-80101-AMC Document 606 Entered on FLSD Docket 06/07/2024 Page 5 of 8
Case 9:23-cr-80101-AMC Document 606 Entered on FLSD Docket 06/07/2024 Page 6 of 8
Case 9:23-cr-80101-AMC Document 606 Entered on FLSD Docket 06/07/2024 Page 7 of 8
Case 9:23-cr-80101-AMC Document 606 Entered on FLSD Docket 06/07/2024 Page 8 of 8
